Case 2:04-Cr-20405-BBD Document 34 Filed 07/07/05 Page 1 of 2 Page|D 40

lN THE uNiTEo sTATEs DisTRlcT couRT ntsb ev 4% 03
FoR THE WEsTERN olsTRlcT oF TENNESSEE _
WEsTERN oivlsioN 95 JUL --1 PH\Z= 28

 

Tl‘UMPS
uNlTED STATES oF AMERch U,S.3434304FC£m
Plaintifr `

VS.
CR. NO. 04-20405-D

MARANDO BACHUS

Defendant.

 

ORDER ON CONTINUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SET|'|NG

 

This cause came on for a report date on June 30, 2005. At that time, counsel forthe
defendant requested a continuance of the July 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with

a report date of Thursday, August 25l 2005, at 9:00 a.m., in Courtroom 3. 9th Floor of
the Federal Bui|ding, Nlemphis, TN.

 

The period from July 15, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

|T |S SO ORDERED this L,Q`\L‘day of Ju|yl 2005.

BE§N|CE B. DO%ALD

UN|TED STATES D|STR|CT JUDGE

This document entered on the dockets in 1465
with mile 55 andfor 32(b) FHCrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:04-CR-20405 Was distributed by faX, mail, or direct printing on
July ]2, 2005 to the parties listed.

 

 

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Camille Reese McMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

